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                                                                          7                               IN THE UNITED STATES DISTRICT COURT
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                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         10   NUANCE COMMUNICATIONS, INC,
                                                                         11                  Plaintiff,                                No. C 08-02912 JSW
United States District Court
                               For the Northern District of California




                                                                         12     v.
                                                                         13   ABBYY SOFTWARE HOUSE, ET AL.,                            AMENDED ORDER OF
                                                                                                                                       REFERRAL
                                                                         14                  Defendants.
                                                                         15   AND ALL RELATED CASES.
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                                                                         17          The Court amends its order dated July 8, 2011 referring the matter of case management
                                                                         18   scheduling to Special Master Meredith Martin Addy. The referral remains the same, however,
                                                                         19   the proposal or report shall be filed no later than August 19, 2011.
                                                                         20          IT IS SO ORDERED.
                                                                         21   Dated: July 21, 2011
                                                                                                                                       JEFFREY S. WHITE
                                                                         22                                                            UNITED STATES DISTRICT JUDGE
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